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INFORMATION
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07 Cr.
DAVID MCQUILLIN,
Defendant. 0 C CRIM. 0 ] ¢
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COUNT ONE

(Conspiracy To Commit Securities Fraud)
The United States Attorney charges:

RELEVANT PERSONS AND ENTITIES

 

1. At all times relevant to this Information, Aspen
Technology, Inc. (“Aspen”) was a corporation organized under the
laws of the State of Delaware with its headquarters in Cambridge,
Massachusetts. Aspen’s securities were registered with the
United States Securities and Exchange Commission (“SEC”) pursuant
to Section 12(g) of the Securities Exchange Act of 1934 (the
“Exchange Act”). Aspen's common stock was traded on the NASDAQ
National Market System, an electronic market system administered
by the NASD, under the symbol "AZPN."

2. At all times relevant to this Information, DAVID
MCQUILLIN was a senior officer at Aspen. From in or about May

1997 up to in or about September 2002, DAVID MCQUILLIN was the

Executive Vice President, Worldwide Sales and Marketing. In
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addition to this position, from in or about January 2001 through
in or about September 2002, MCQUILLIN was the Co-Chief Operating
Officer of Aspen. From in or about October 2002 through in or
adout November 2004, MCQUILLIN was the CEO and President of
Aspen. While CEO of Aspen, MCQUILLIN signed its Annual Reports
filed with the United States Securities and Exchange Commission
(“SEC”). At various times relevant to this Information,
MCQUILLIN owned a substantial number of shares, and options to
purchase shares, of Aspen stock.

BACKGROUND

3. At all times relevant to this Information, Aspen
was in the business of developing and selling computer software
used in various process industries, including oil refining and
chemical manufacturing. In addition, Aspen provided services
related to the implementation of that software to users of Aspen
products.

4. At all times relevant to this Information, in order
to maintain public trading of its securities in the United
States, Aspen was required to comply with the federal securities
laws, including the Exchange Act and the rules and regulations
promulgated thereunder, which are designed to ensure that a
company’s financial information is accurately recorded and
accurately disclosed to the public. Specifically, at all times

relevant to this Information, pursuant to the Exchange Act and
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the rules and regulations promulgated thereunder, Aspen was
required to: (a) file with the SEC annual financial statements
(on SEC Form 10-K) that had been audited by independent certified
public accountants; (b) file with the SEC quarterly financial
reports (on SEC Form 10-Q); and (c) make and keep books, records,
and accounts that accurately and fairly reflected Aspen’s
business transactions. Aspen operated on a fiscal year ending
June 30, and therefore filed its annual report on SEC form 10-K
after the close of the quarter ending June 30 and filed quarterly
reports on SEC form 10-Q after the close of quarters ending
September 30, December 31, and March 31.

9. At all times relevant to this Information, Aspen
employed Arthur Anderson LLP (“Arthur Anderson”) as its
independent auditor. Arthur Anderson performed year end audits
of Aspen’s financial statements and quarterly reviews of selected
Aspen financial information. Arthur Anderson also performed
other accounting tasks as requested, including a special review
and investigation of Aspen’s revenue recognition procedures
beginning in January 2002.

6. At all times relevant to this Information, Aspen
provided members of the investing public with information
concerning Aspen’s financial results and operating performance.
Aspen provided such information through various methods,

including in its public filings with the SEC, in periodic news
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releases and other corporate announcements, in statements made in
conference calls with professional securities analysts and
investors, and in meetings and conferences held with investors.
DAVID MCQUILLIN participated in this process by attending
conference calls and meetings with analysts and investors, and by
providing information that was included in Aspen’s financial
results and public filings. Members of the investing public
considered and relied upon the information provided by Aspen in
deciding whether to purchase, hold, or sell Aspen securities.

7. Part of the information routinely provided by Aspen
to members of the investing public were Aspen’s expectations
concerning Aspen’s future revenues and financial results for
upcoming reporting periods. DAVID MCQUILLIN participated in
developing Aspen’s revenue targets and in reporting those
estimates to the investing community, through, among other means,
conference calls with securities analysts and investors.

8. At all times relevant to this Information,
numerous securities analysts and investors relied on the
financial information and revenue targets provided by Aspen to
gauge Aspen’s performance and to disseminate estimates of Aspen’s
expected performance to the larger investing public. Members of
the investing public closely followed such “earnings estimates”
or “analysts’ expectations” because, historically, when a

company’s financial performance fails to meet such estimates,
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that company’s stock price typically declines, and when a
company’s financial performance exceeds such estimates, the
company’s stock price typically rises.

9. At all times relevant to this Information, Aspen’s
revenues came primarily from two sources: a) the sale of licenses
for computer software that Aspen developed and b) the sale of
services that Aspen provided to customers in connection with the
use of that software. Because Aspen’s profit margins were
significantly higher for software license sales, and because
software license sales often determined future service revenues,
many securities analysts and investors considered the size and
growth of Aspen’s software license revenue to be one of the most
important measures of Aspen’s financial performance.

10. From in or about January 2001 through at least in
Or about January 2002, Aspen’s Board of Directors had placed
DAVID MCQUILLIN in competition with his co-Chief Operating
Officer (“co-COO”) to become the next CEO of Aspen. During this
so-called “bake off” for the CEO job, MCQUILLIN was evaluated
largely on the basis of Aspen’s success in software license
sales.

THE SCHEME TO DEFRAUD
Introduction
11. As set forth more fully below, from in or about

December 2000 through in or about September 2002, DAVID MCQUILLIN
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and his co-conspirators engaged in an illegal scheme to deceive
members of the investing public, Aspen shareholders, Aspen’s
Board of Directors, securities analysts, Aspen’s outside
auditors, the SEC and others concerning Aspen’s true financial
results and software license revenues by claiming that certain
software license agreements had been reached in certain financial
periods, when in fact they had not. Through this scheme
MCQUILLIN and his co-conspirators made it appear as though
Aspen’s financial performance was better in various quarters than
it actually was, thereby making it appear that Aspen had either
met, exceeded, or come closer to its financial targets and
analysts’ expectations than it actually had.

12. From in or about December 2000 through in or about
September 2002, in furtherance of the scheme, DAVID MCQUILLIN and
his co-conspirators made and caused Aspen to make statements to
the public and to other investors which (a) falsely described
Aspen’s financial results and software license revenues, (b)
omitted to disclose material facts necessary to make the
statements made about Aspen’s financial results and software
license revenue complete, accurate, and not misleading, and (c)
caused Aspen to file financial statements with the SEC that
presented a materially false and misleading description of

Aspen’s financial results and software license revenues.
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13. Among other false and fraudulent means used to
manipulate Aspen’s revenues and other financial results, DAVID
MCQUILLIN and others: (a) caused Aspen to report to investors
software license revenues that were subject to side agreements or
contingencies that made that revenue not recognizable, thereby
making it appear to the investing public that Aspen had met
certain financial targets when in fact it had not; (b) backdated
software license agreements into financial quarters earlier than
they were actually finalized in order to recognize revenue at an
earlier point in time and thereby either come closer to, reach,
or exceed Aspen’s quarterly revenue targets, and (c) provided
false or misleading information to the outside accountants who
audited and reviewed Aspen’s financial statements and conducted a
Special review and investigation of Aspen’s revenue recognition
procedures.

THE U.S. COMPUTER COMPANY TRANSACTION

14. At the end of December 2000, which was the close
of Aspen’s second quarter for its fiscal year ending June 30,
2001, DAVID MCQUILLIN knew that Aspen was short of its estimates
and analysts’ expectations for software license revenues and
financial performance for that quarter. In order to close the
gap, MCQUILLIN engaged in a scheme to complete the sale of
software to a United States-based computer company (the “Computer

Company") in January 2001, but to claim falsely to Aspen’s
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auditors and investors that it had been completed in December
2000. The deal with the Computer Company, ultimately reached in
mid-January 2001, was for approximately $2.75 million in software
sales, and was backdated to December 29, 2000 so that revenue
from that sale could be included in the second fiscal quarter’s
financial results.

15. On or about December 29, 2000, the last business
day of Aspen’s second fiscal quarter, Aspen offered, based on its
“current needs at the end of the quarter,” to sell $3 million in
software to the Computer Company. Aspen proposed that the
Computer Company then resell that software to end-users,
including customers that Aspen already had in its “pipeline.”
Aspen further offered to double the “commissions” that the
Computer Company would receive for those resales. Subsequently,
during the beginning of January 2001 and after the close of
Aspen’s second fiscal quarter, MCQUILLIN and others at Aspen
attempted to close the sale.

16. On or about January 9, 2001, DAVID MCQUILLIN
participated in drafting a script for a sales phone call with the
Computer Company. The script proposed that the Computer Company
and Aspen “complete the deal we have been working on with you
over the past several days.” The script set forth the advantages
for the Computer Company, including the higher commission rate

and Aspen’s commitment to “pull down” the Computer Company’ s
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“pre-purchase” of software from Aspen by shipping the software
directly to end-user customers already lined up by Aspen. The
script stated that Aspen is “very interested in making this
happen” and “we have a license document drafted and ready for
Signature which is the document we need for revenue recognition.”

17. On or about January 9, 2001, representatives of
the Computer Company informed Aspen that the Computer Company
group in the United States with whom Aspen had been negotiating
would not go through with the deal. Subsequent to January 9,
2001, DAVID MCQUILLIN and others at Aspen attempted to complete
the sale with a European group of the Computer Company. On or
about January 15, 2001, a representative of the European group of
tne Computer Company signed a Software License Agreement between
Aspen and the Computer Company, which was backdated to December
29, 2000.

18. On or about January 24, 2001, DAVID MCQUILLIN
participated in a conference call that Aspen held with investors
and securities analysts, including some from firms based in New
York, New York. During that call, and ina press release issued
that same day, Aspen announced its earnings and revenue figures
for the quarter ended December 31, 2000, which included license
revenue growth of 39% to $40.6 million for the quarter. Those
figures included approximately $2.75 million in revenue from the

software license sale to the Computer Company, even though as
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DAVID MCQUILLIN and others well knew, that contract had not been
completed and signed until the following quarter.

19. On or about February 14, 2001, Aspen filed its
report with the SEC on form 10-Q for the quarter ending December
31, 2000. In that report, Aspen included approximately $2.75
million in revenue from the sale of software to the Computer
Company, even though, as DAVID MCQUILLIN well knew, that contract
had not been completed and signed until the following quarter.

THE RUSSIAN OIL COMPANY TRANSACTION

20. At the end of June 2001, which was the close of
Aspen’s fourth fiscal quarter and fiscal year ending June 30,
2001, DAVID MCQUILLIN knew that Aspen was short of its estimates
and analysts’ expectations for software license revenues and
financial performance for that quarter. In order to close the
gap, MCQUILLIN engaged in a scheme to deceive Aspen’s auditors
and investors by signing a software license agreement with a
Russian Oil Company (“Oil Company”) that was (a) backdated so
that the revenue could be recognized in the quarter ending June
30, 2001, and (b) subject to side agreements that made the
revenue from that contract not recognizable.

21. On or about June 27, 2001, DAVID MCQUILLIN sent an
email to senior employees and officers at Aspen about the
potential license sale to the Oil Company. In that email,

MCQUILLIN stated “we have to have this one as you know,”

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discussed completing the deal after the end of the quarter, and
directed certain employees to “minimize the circle of people
involved in closing this deal and refrain from any further
discussion of our closing strategy via e-mail or verbally.”

22. On or about June 29, 2001, DAVID MCQUILLIN sent an
email to various senior employees and officers at Aspen stating
that certain revenue has recently “vaporize[d],” that “we can’t
make the quarter” without certain additional revenue, and that “I
don’t have a back-up plan.”

23. In or about early July 2001, after the close of
tne fiscal quarter and year on June 30, 2001, DAVID MCQUILLIN
traveled to Russia to negotiate with the Oil Company. During
those negotiations, the Oil Company resisted entering into the
software license agreement proposed by Aspen. On or about July
5, 2001, MCQUILLIN sent an email to senior officers at Aspen
attaching a letter addressed to the Oil Company. In the email
MCQUILLIN directed the recipients to “please destroy after
reading.” In the letter to the Oil Company, MCQUILLIN stated
that “as a quarterly driven software company our business model
requires that we book significant software license revenue.”
MCQUILLIN also stated that he would remain in Moscow “[t]o ensure
that we reach final agreement” by July 10, 2001.

24. On or about July 10, 2001, no agreement had been

reached. That same day, DAVID MCQUILLIN proposed that the Oil

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Company sign a software license agreement with Aspen, but
promised to provide a “side letter” that would give the Oil
Company the right to cancel the software license agreement if
certain additional agreements were not completed between the
parties by August 1, 2001. MCQUILLIN stated this proposal would
allow Aspen to recognize the license revenue for its year ending
Jane 30, 2001, and would impose no financial risk on the Oil
Company because the software license agreement would not be
“valid” or “binding.” MCQUILLIN attached a draft “side letter”
granting the Oil Company “unconditional right to cancel the
Software License Agreement” if the companies did not reach
additional agreements by August 1, 2001.

25. On or about July 13, 2001, DAVID MCQUILLIN and the
Oil Company signed a software license agreement (the “SLA"),
which was backdated to June 29, 2001. In or about July 2001, the
Russian Oil Company and MCQUILLIN Signed a separate agreement
granting Yukos “unconditional rights of unilateral withdrawal of
[the Oil Company’s] commitments” in the SLA if certain additional
agreements were not reached by August 1, 2001 (“Side Agreement
#1").

26. In or about late July 2001, Arthur Anderson was
conducting an audit of Aspen’s financial records and sought to
confirm the SLA. On or about July 19, 2001, the Aspen finance

department sent a form letter to the Russian Oil Company asking

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it to confirm that, among other things, there were no side
agreements, contingencies or other agreements affecting the SLA.
The Oil Company refused to complete that form.

27. In or about early August 2001, the additional
agreements referred to in Side Agreement #1 had not been
completed. DAVID MCQUILLIN drafted a letter toa representative
of the Oil Company asking it to let “stand” the SLA that was
“conditionally” signed in July and to sign a letter to Aspen’s
auditors confirming the SLA. In exchange, Aspen would provide a
“comfort letter” to the Oil Company giving it the right to cancel
a portion of the SLA at a later date if certain conditions were
not met. MCQUILLIN stated: “I need your support on a matter of
the most extreme urgency... Aspen will officially report its
Fourth Quarter financial results on Tuesday August 7*°, We need
to include the [Oil Company] software license, that you
conditionally signed, in our results to meet our targets. That
is why I pushed so hard with you and [the Oil Company] in early
July. If we are now forced to unbook the [Oil Company] deal from
our results it will cause extreme damage to AspenTech, our
relationship with [the Oil Company] and me personally. This is a
very, very serious issue for us... Bottom line Michael, I am
asking you to do a favor for Aspentech.... In exchange, I want
you to do something that will help AspenTech but not cost [the

Oil Company] anything.”

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28. On or about August 4, 2001, DAVID MCQUILLIN
drafted a “side letter” providing that the Oil Company would
allow the SLA to stand, but granting the Oil Company the right to
make changes to and cancel portions of the SLA in the future.
MCQUILLIN directed that Aspen’s head of European sales sign the
letter and that Aspen employees “Treat this letter as strictly
confidential and do not further forward via e-mail except [to a
translator]. Delete all sent e-mails after [the translator]
translates and only keep an electronic copy on your machine for
the moment.”

29. On or about August 7, 2001, Aspen’s head of
Furopean Sales signed a letter to the Oil Company. (“Side
Agreement #2"). Side Agreement #2 provided that the parties
would amend or modify the SLA in the future so that the Oil
Company’s payments would be subject to certain additional
conditions.

30. On or about that same date, August 7, 2001, the
O11 Company sent a letter to Aspen, with a copy to Arthur
Anderson, confirming the SLA “signed June 29, 2001" and stating
that payments under that SLA were not contingent upon any future
events.

31. On or about that same date, August 7, 2001, DAVID
MCQUILLIN and other senior Aspen officers and employees signed a

letter to Arthur Anderson stating: “In connection with the

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Software License and Service Agreement dated June 29, 2001
between Aspen Technology, Inc. (Aspen) and [the Oil Company], we
represent to you that there are no contingencies, amendments or
modifications to the original agreement, side agreements (verbal
Or written) or expected future concessions under this agreement
between Aspen and [the Oil Company] .”

32. On or about that same date, August 7, 2001, Aspen
issued a press release and conducted a conference call with
investors and securities analysts, including some from investment
firms based in New York, New York, in which it announced
approximately $40 million in software license revenue for the
fourth quarter ending June 30, 2001. Those figures included
approximately $4.3 million in revenue from the Oil Company SLA,
even though, as DAVID MCQUILLIN well knew, that agreement had
been backdated into the quarter and subject to side agreements.
During the conference call and in the press release, Aspen
described the Oil Company transaction as one of the largest it
had closed that quarter.

33. On or about September 28, 2001, Aspen filed its
annual report on Form 10-K with the SEC. Aspen recognized
approximately $4.3 million in revenue from the Oil Company SLA
for the quarter ending June 30, 2001, which represented
approximately 10.7% of license revenue for the quarter.

34. Aspen later received only $977,750 in payments

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from the Oil Company in connection with the Oil Company SLA. In
or about September 2002, Aspen filed its annual report for fiscal
year 2002 on Form 10-K. That report contained fiscal year 2001
revenue figures, which included revenue from the Oil Company SLA.
Aspen wrote off the remainder of the revenue recognized from the
Oil Company SLA in fiscal years 2003 and 2004.

THE BACKDATING INVESTIGATION

35. In or about late 2001, employees at Aspen raised
concerns that contracts were being completed and signed after the
close of the fiscal quarter and then backdated so that the
revenue could be recognized in the prior quarter. In or about
January 2002, at the direction of the Audit Committee of Aspen’s
Board of Directors (“Audit Committee”), Arthur Anderson and
others conduct an independent internal investigation of the
questions raised about backdating and of Aspen’s revenue
recognition procedures. The Computer Company and Oil Company
transactions described in paragraphs 14 through 34 were
investigated as part of that review.

36. On or about January 28, 2002, as part of the
investigation of backdating at Aspen, auditors from Arthur
Anderson interviewed DAVID MCQUILLIN. During that interview,
MCQUILLIN informed the auditors that the Computer Company
contract had been completed and signed prior to the close of the

quarter ending December 31, 2000, even though, as MCQUILLIN well

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knew, it had not.
THE CONSPIRACY

37. From in or about December 2000 through in or about
September 2002, in the Southern District of New York and
elsewhere, DAVID MCQUILLIN, the defendant, and others known and
unknown, unlawfully, willfully, and knowingly did combine,
conspire, confederate, and agree together and with each other to
commit offenses against the United States, namely (a) to commit
fraud in connection with the purchase and sale of securities
issued by Aspen, in violation of Title 15, United States Code,
Sections 78j(b) and 78ff, and Title 17, Code of Federal
Regulations, Section 240.10b-5; (b) to make and cause to be made
false and misleading statements of material fact in applications,
reports, and documents required to be filed under the Securities
Exchange Act of 1934 and the rules and regulations thereunder, in
violation of Title 15, United States Code, Sections 78m(a) and
7T8ff; and (c) to falsify books, records, and accounts of Aspen,
in violation of Title 15, United States Code, Sections
78m(b) (2) (A), 78m(b) (5) and 78ff, and Title 17, Code of Federal
Regulations, Section 240.13b2-1.

Objects Of The Conspiracy

Fraud In Connection With The
Purchase And Sale Of Securities

38. It was a part and an object of the conspiracy that
DAVID MCQUILLIN, the defendant, and others known and unknown, un-

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lawfully, willfully, and knowingly, directly and indirectly, by
use of the means and instrumentalities of interstate commerce,
the mails, and the facilities of national securities exchanges,
would and did use and employ manipulative and deceptive devices
and contrivances in connection with the purchase and sale of
securities issued by Aspen, in violation of Title 17, Code of
Federal Regulations, Section 240.10b-5, by (a) employing devices,
schemes, and artifices to defraud; (b) making and causing Aspen
to make untrue statements of material facts and omitting to state
material facts necessary in order to make the statements made, in
the light of the circumstances under which they were made, not
misleading; and (c) engaging in acts, practices, and courses of
business which operated and would operate as a fraud and deceit
upon the purchasers and sellers of Aspen securities, in violation
of Title 15, United States Code, Sections 78j(b) and 78ff.

False Statements In
Annual And Quarterly SEC Reports

39. It was further a part and an object of the
conspiracy that DAVID MCQUILLIN, the defendant, and others known
and unknown, unlawfully, willfully, and knowingly, in
applications, reports, and documents required to be filed under
the Securities Exchange Act of 1934 and the rules and regulations
thereunder, would and did make and cause to be made statements

that were false and misleading with respect to material facts, in

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violation of Title 15, United States Code, Sections 78m(a) and

78ff.

False Books And Records

 

40. It was further a part and an object of the
conspiracy that DAVID MCQUILLIN, the defendant, and others known
and unknown, unlawfully, willfully, and knowingly would and did,
directly and indirectly, falsify and cause to be falsified books,
records, and accounts subject to Section 13(b) (2) of the
Securities Exchange Act of 1934, namely books, records, and
accounts of Aspen, an issuer with a class of securities
registered pursuant to the Securities Exchange Act of 1934, which
Aspen was required to make and keep, accurately and fairly
reflecting, in reasonable detail, the transactions and
dispositions of the assets of Aspen, in violation of Title 15,
United States Code, Sections 78m(b) (2) (A), 78m(b) (5) and 78ff,
and Title 17, Code of Federal Regulations, Section 240.13b2-1.

Means And Methods Of The Conspiracy

41. Among the means and methods by which DAVID
MCQUILLIN, the defendant, and his co-conspirators would and did
carry out the conspiracy were the following:

a. MCQUILLIN and his co-conspirators backdated
and caused customers to backdate software license agreements into
financial quarters earlier than they were actually finalized in

order to recognize revenue at an earlier point in time, thereby

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making it appear that Aspen had come closer to, reached, or
exceeded revenue targets and expectations, when in fact it had
not.

b. MCQUILLIN and his co-conspirators provided
false and misleading information to Aspen’s auditors.

c. MCQUILLIN and his co-conspirators caused Aspen
to report to investors software license revenue that was subject
to agreements making that revenue not recognizable, thereby
making it appear to the investing public that Aspen had met
certain financial targets when in fact it had not.

d. MCQUILLIN and his co-conspirators provided
false and misleading financial information to the investing
public and analysts.

e. MCQUILLIN and his co-conspirators caused Aspen
to file publicly with the SEC quarterly and annual reports that
materially misstated, among other things, Aspen’s software
license revenues.

f£. MCQUILLIN and his co-conspirators used
facilities of interstate and foreign commerce in furtherance of

the objects of the conspiracy.

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Overt Acts
42. In furtherance of the conspiracy and to effect its
illegal objects, DAVID MCQUILLIN and his co-conspirators
committed the following overt acts, among others, in the Southern
District of New York and elsewhere:

a. In or about late December 2000, MCQUILLIN and
others began attempting to sell software licenses to the Computer
Company.

b. In or about January 2001, MCQUILLIN and
ochers participated in the negotiation of a software license
agreement with the Computer Company.

Cc. In or about January 2001 MCQUILLIN and others
participated in the drafting of a software license agreement with
the Computer Company.

d. On or about January 24, 2001, MCQUILLIN and
others provided false and misleading financial information to
securities analysts and the investing public through a press
release and conference call.

e, On or about February 14, 2001, MCQUILLIN and
others caused Aspen to issue a quarterly report on Form 10-0
containing false and misleading financial information.

f. In or about July 2001, MCQUILLIN and others

attempted to negotiate a software license agreement with the Oil

Company.

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g. On or about July 5, 2001, MCQUILLIN sent an e-
mail to senior officers at Aspen directing them to “please
destroy after reading” and attaching a letter to the Oil Company
proposing to complete an agreement by July 10, 2001.

h. On or about July 13, 2001, MCQUILLIN signed a
software license agreement with the Oil Company backdated to June
29, 2001.

i. In or about July 2001, MCQUILLIN entered into
a Side agreement with the Oil Company.

j- On or about August 4, 2001, MCQUILLIN drafted
another side agreement with the Oil Company.

k. On or about August 7, 2001, MCQUILLIN and
others signed a letter to Arthur Anderson.

1. On or about August 7, 2001, MCQUILLIN and
others caused Aspen to provide false and misleading financial
information to securities analysts and the investing public
through a press release and conference call.

m. On or about September 28, 2001, MCQUILLIN and
others caused Aspen to issue an annual report on Form 10-K
containing false and misleading financial information.

n. On or about January 28, 2002, MCQUILLIN
provided false information to auditors from Arthur Anderson who

were conducting an investigation of backdating of contracts at

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Aspen.

Oo. In or about September 2002, MCQUILLIN and
others caused Aspen to issue an annual report on Form 10-K
containing false and misleading financial information.

(Title 18, United States Code, Section 371.)

COUNT TWO
(Securities Fraud)

The United States Attorney further charges:

43. The allegations contained in paragraphs 1 through
36 and paragraphs 41 and 42 of this Information are repeated and
realleged as if fully set forth herein.

44, From in or about December 2000 up to and including
in or about September 2002, in the Southern District of New York
and elsewhere, DAVID MCQUILLIN, the defendant, unlawfully,
willfully and knowingly, directly and indirectly, by the use of
the means and instrumentalities of interstate commerce, and of
the mails, and of facilities of national securities exchanges, in
connection with the purchase and sale of securities, used and
employed manipulative and deceptive devices and contrivances in
violation of Title 17, Code of Federal Regulations, Section
240.10b-5 by (a) employing devices, schemes and artifices to
defraud; (b) making untrue statements of material fact and
omitting to state material facts necessary in order to make the

statements made, in the light of the circumstances under which

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they were made, not misleading; and (c) engaging in acts,
practices and courses of business which operated and would
operate as a fraud and deceit upon purchasers and sellers of
Aspen common stock.

(Title 15, United States Code, Sections 783 (b) and 78ff;

Title 17, Code of Federal Regulations, Section 240.10b-5;
Title 18, United States Code, Section 2.)

Muted bwre

MICHAEL J. GARCIA 9(6
United States Attdrney

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